          Case 2:23-cv-00069-TOR    ECF No. 1   filed 03/15/23   PageID.1 Page 1 of 5




 1   ZACHARY J. PEKELIS, WSBA #44557
     Special Assistant Attorney General
 2   PACIFICA LAW GROUP LLP
 3   1191 2nd Avenue, Suite 2000
     Seattle, WA 98101-3404
 4   (206) 245-1700

 5
                        UNITED STATES DISTRICT COURT
 6                     EASTERN DISTRICT OF WASHINGTON
 7
 8   TIMOTHY P. BEUCA,                            No. 2:23-cv-00069

 9                          Plaintiff,
                                                  NOTICE OF REMOVAL
10   v.
11
     WASHINGTON STATE
12   UNIVERSITY and JOHN and
     JANE 1-10,
13
                            Defendants.
14

15
16          TO:         TIMOTHY P. BEUCA

17          AND TO:     HAROLD H. FRANKLIN, JR. and TRACY TRIBBETT,

18   Attorneys for Plaintiff,

19          AND TO:     CLERK OF THE ABOVE-ENTITLED COURT.

20          PLEASE TAKE NOTICE that without waiving any procedural or substantive

21   defenses, Defendant Washington State University (WSU) hereby removes Plaintiff

22   Timothy P. Beuca’s lawsuit filed (but not served) on December 2, 2022, under Cause

23   No. 22-2-00252-38 in Whitman County Superior Court in the State of Washington,

24
     NOTICE OF REMOVAL - 1                                            PACIFICA LAW GROUP LLP
                                                                           1191 SECOND AVENUE
     Case No. 2:23-cv-00069                                                      SUITE 2000
                                                                     SEATTLE, WASHINGTON 98101-3404
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        Case 2:23-cv-00069-TOR      ECF No. 1   filed 03/15/23   PageID.2 Page 2 of 5




 1   to the U.S. District Court for the Eastern District of Washington (Spokane Division).

 2   WSU provides the following short, plain statement of the grounds for removal:

 3         1.     Plaintiff filed this action in Whitman County Superior Court on

 4   December 2, 2022. Because this Court is the United States District Court for the

 5   district and division embracing the place where the state court action is pending, it

 6   is the appropriate court for removal pursuant to 28 U.S.C. § 1441(a).

 7         2.     Plaintiff filed his original complaint in Whitman County Superior Court

 8   on December 2, 2022. See Exhibit C. Plaintiff did not serve his original complaint.

 9         3.     On February 22, 2023, Plaintiff filed his Amended Complaint for

10   Damages (Amended Complaint). See Exhibit E. The same day, Plaintiff served WSU

11   with the Amended Complaint and Summons via the email service address of the

12   Washington Attorney General’s Office. This Notice is therefore timely and

13   appropriate because it is “filed within 30 days after the receipt by the defendant,

14   through service or otherwise, . . . or within 30 days after the service of summons

15   upon the defendant.” 28 U.S.C. § 1446(b)(1).

16         4.     This is a civil action brought in state court of which this Court has

17   original jurisdiction under 28 U.S.C. § 1331 because it arises under the federal laws

18   of the United States, specifically Title VII of the Civil Rights Act of 1964,

19   42 U.S.C.§ 2000e-2(a). See Am. Compl. ¶¶ 33–38. Removal is therefore appropriate

20   under 28 U.S.C. § 1441(a).

21         5.     Removal is also appropriate under 28 U.S.C. § 1332(a) because

22   complete diversity of citizenship exists and the amount in controversy pertaining to

23   Plaintiff’s claims exceeds $75,000.00. Upon information or belief, Plaintiff is a

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 1   citizen of Florida, where he currently resides. WSU is a public university of the State

 2   of Washington. The citizenship of the fictitious Jane and John Doe defendants must

 3   be disregarded for the purpose of considering diversity jurisdiction. See 28 U.S.C. §

 4   1441(b)(1). Thus, complete diversity of citizenship exists.

 5           6.    As to the amount in controversy, Plaintiff seeks “[d]amages including

 6   lost wages, benefits, and all other lost income” related to his former position as a

 7   medical resident, “attorney’s fees and costs,” and “total general and special

 8   damages” under Title VII and the Washington Law Against Discrimination, RCW

 9   49.60.180 (WLAD). Am. Compl. at 6–7 (prayer for relief). The amount in

10   controversy thus exceeds the statutory minimum of $75,000.00.

11           7.    This Court has personal jurisdiction over Plaintiff and WSU.

12           8.    In compliance with 28 U.S.C. § 1446(a), WSU has attached a true and

13   complete copy of the docket and all process, pleadings, and orders filed or served

14   upon WSU in Whitman County Superior Court Cause No. 22-2-00252-38. See

15   Exhibits A–F.

16           9.    In compliance with 28 U.S.C. § 1446(d), a copy of this notice (without

17   Exhibits A through F) will be filed with the Whitman County Superior Court and

18   served on Plaintiff’s counsel in conjunction with this filing.

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20   ///

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        Case 2:23-cv-00069-TOR   ECF No. 1    filed 03/15/23   PageID.4 Page 4 of 5




 1        DATED this 15th day of March, 2023.

 2                                           s/ Zachary J. Pekelis
                                             ZACHARY J. PEKELIS, WSBA #44557
 3
                                             Special Assistant Attorney General
 4                                           PACIFICA LAW GROUP LLP
                                             1191 2nd Avenue, Suite 2000
 5                                           Seattle, WA 98101-3404
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 6                                           Zach.Pekelis@PacificaLawGroup.com
 7
                                             Attorney for Defendant Washington State
 8                                           University

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     NOTICE OF REMOVAL - 4                                          PACIFICA LAW GROUP LLP
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         Case 2:23-cv-00069-TOR      ECF No. 1    filed 03/15/23   PageID.5 Page 5 of 5




 1                               CERTIFICATE OF SERVICE
 2        I hereby certify that on March 15, 2023, I electronically filed the foregoing with

 3 the Clerk of the Court using the CM/ECF System, which in turn automatically
 4 generated a Notice of Electronic Filing (NEF) to all parties in the case who are
 5 registered users of the CM/ECF system. The NEF for the foregoing specifically

 6 identifies recipients of electronic notice. I hereby certify that I have mailed by United
 7 States Postal Service the document to the following non-CM/ECF participants:
 8        Harold H. Franklin, Jr., WSBA #20486
 9        Tracy Tribbett, WSBA #35922
          Pacific Justice Institute
10        459 Seneca Avenue NW
          Renton, WA 98057
11        hfranklin@pji.org
          Counsel for Plaintiff
12
13        I declare under penalty of perjury under the laws of the State of Washington

14 and the United States of America that the foregoing is true and correct.

15        DATED this 15th day of March, 2023, at Seattle, Washington.
16                                                s/ Zachary J. Pekelis
17                                               ZACHARY J. PEKELIS, WSBA #44557
                                                 Special Assistant Attorney General
18                                               Attorney for Defendant Washington State
                                                 University
19
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